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                                                                      JUDGE DAVID GUADERRAMA


                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEX9                        2R1       20 PM      1:   2
                                EL PASO DIVISION

 UNITED STATES OF AMERICA,                      §   CRIMINAL NO                           /     L


        Plaintiff,                              §   INDICTMENT
                                                §
v.                                              §   CT 1: 21:963-Conspiracy to Import a
                                                §   Controlled Substance;
 CESAR TORRES TAPIA,                            §   CT 2: 21:952(a)-Importation of a
                                                §   Controlled Substance;
        Defendant.                              §   CT 3: 21:846 & 841(a)(1)-Conspiracy to
                                                §   Possess a Controlled Substance with Intent
                                                §   to Distribute;
                                                §   CT 4: 21:841 (a)(1 )-Possession with
                                                §   Intent to Distribute a Controlled Substance
                                                §



       THE GRAND JURY CHARGES:                                EP 1 9 CR 37 31
                                         COUNT ONE
                             (21 U.S.C. § 963, 952(a) & 960(b)(4))

       That on or about October 22, 2019, in the Western District of Texas, Defendant,

                                  CESAR TORRES TAPIA,

knowingly, intentionally, and unlawfully conspired, combined, confederated, and agreed with

others to the Grand Jury known and unknown, to commit offenses against the United States, in

violation of Title 21, United States Code, Section 963, that is to say, they conspired to import a

controlled substance, which offense involved a quantity of a mixture or substance containing a

detectable amount of marijuana, a Schedule I Controlled Substance, into the United States from

Mexico, contrary to Title 21, United States Code, Sections 952(a) and 960(a)(l) and the quantity

of the mixture or substance containing marijuana involved in the conspiracy and attributable to

Defendant as a result of Defendant's own conduct and as a result of the conduct of other

conspirators reasonably foreseeable to Defendant is a quantity of a mixture or substance containing


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a detectable amount of marijuana, all in violation of Title 21, United States Code, Sections 963,

952(a) and 960(b)(4).

                                              COUNT TWO
                           (21 U.S.C.    §    952(a), 960(a)(1), 960(b)(4))

       That on or about October 22, 2019, in the Western District of Texas, Defendant,

                                   CESAR TORRES TAPIA,

knowingly and intentionally imported into the United States from Mexico a controlled substance,

which offense involved a quantity of a mixture or substance containing a detectable amount of

marijuana, a Schedule I Controlled Substance, in violation of Title 21, United States Code,

Sections 952(a), 960(a)(1) and 960(b)(4).

                                             COUNT THREE
                          (21 U.S.C. §       846, 841(a)(1) & 841(b)(1)(D))

       That on or about October 22, 2019, in the Western District of Texas, Defendant,

                                   CESAR TORRES TAPIA,

knowingly, intentionally, and unlawfully conspired, combined, confederated, and agreed with

others to the Grand Jury known and unknown, to commit offenses against the United States, in

violation of Title 21, United States Code, Section 846, that is to say, they conspired to possess a

controlled substance, which offense involved a quantity of a mixture or substance containing a

detectable amount of marijuana, a Schedule I Controlled Substance, with intent to distribute same,

contrary to Title 21, United States Code, Section 841(a)(1) and the quantity of the mixture or

substance containing marijuana involved in the conspiracy and attributable to Defendant as a result

of Defendant's own conduct and as a result of the conduct of other conspirators reasonably

foreseeable to Defendant is a quantity of a mixture or substance containing a detectable amount of




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marijuana, all in violation of Title 21, United States Code, Section 846, 841(a)(1) and

841(b)(l)(D).

                                        COUNT FOUR
                            (21 U.S.C. § 841(a)(l) & 841(b)(l)(D))

       That on or about October 22, 2019, in the Western District of Texas, Defendant,

                                   CESAR TORRES TAPIA,

knowingly and intentionally possessed with intent to distribute a controlled substance, which

offense involved a quantity ofa mixture or substance containing a detectable amount of marijuana,

a Schedule I Controlled Substance, in violation of Title 21, United States Code, Section 841 (a)(1)

and 841(b)(1)(D).

                                             A TRUE BILL.
                                                        ORIGINAL SIGNATURE
                                                       REDACTED PURSUANT TO
                                                      EOOVERNMENT ACT OF 2002
                                             FOREPERSON OF THE GRAND JTJRY


JOHN F. BASH
UNITED STATES ATTORNEY


BY:
      Assistan   .S. Attorney




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